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I-Iigh suicide rate at Allegheny County Jail

AP by ASSOC!ATED PRE§S
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Pub\lshed: Tue, July 5,20?112:06 PM Updated:lue, July 5, 2011 l2;30 PM

PI”I'I`SBURGH (AP) - A federal Bureau of Justice Statistics study found that among the nation's 50 largest jails, the Allegheny County Jail
had the second highest suicide rate from 2000-07, averaging 1 2/ 3 suicides a year.

The jail reported two suicides in 2009 and one in 2010, according to the state Department of Corrections, the Pittsburgh Post-Gazette
reported Tuesday. That gave the jail the highest suicide rate for those years among county lockups in Pennsylvania with populations of
more than 1,000.

"We've tried to do some things" to prevent suicides, Bruce Dixon, director of the Allcgheny County Health Department and chairman of
Allegheny Correctional Hcalth Services, which handles jail medical care, told the newspaper.

The parents of one inmate are suing the jail.

The civil trial stemming from Jason Kindler's 2008 suicide in the jail is set to start Nov. 7. Mr. Kind]er, of Springdale, was 28 years old
When he was jailed for marijuana possessionl

A father of two and a repeat drug offender, he had been diagnosed with bipolar disorder by a jail psychiatrist during a 2007 incarceration,
according to a statement filed last month by the Kindlers' attorneys, William F. Goodrich and Steven M. Barth. He told nurses at intake

that he was withdrawing from Percocet and suffering from an ulcer, and had tried suicide before.

Initially, he had a cellmate, but after a few days he was housed alone. He was found on Jan. 28, 2008, hanged by a bedsheet from "a steel
hook attached to a steel bracket to the cell wall by four steel bolts," said the statement

The county also faces ongoing lawsuits for two other jail suicidcs, John Simeone III, 36, in 2007, and Shiva Lal Acharya, 33, in 2008.

Information from: Pittsburgh Post-Gazette, http://www.post-gaz.ette.com

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Allegheny County jail officer fired following
inmate's suicide

R|CH LORD
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A suicide at the Allegheny County Jail last month has led to the
firing of a corrections officer, Who this Week denied any
culpability in the death of the inmate, a 33-year-old West Mifflin
Woman.

The corrections officer, Veronica L. Brown, confirmed that she
was on duty on the medical housing unit at the time of the
suicide, but said she had no knowledge of the mental state of the
inmate, Jamie Gettings. MS. Brown said she’s trying to get her
job back.

“She did it on my shift, and that’s all I can tell you,” said Ms.
Brown, 58. “I never spoke to her. She Was laying on her bed” in
her cell When Ms. Brown did her rounds, she said.

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Michael Yanero, an uncle to Ms. Gettings Who has emerged as a
family spokesman, Said the family has reason to believe she WaS
“going through detoX” at the time.

Rich Lord

'She was begging she didn’t want to be
alone': Former inmates recount night ofjai|
suicide

 

County Warden Orlando Harper on Thursday declined an
interview request and then refused to entertain questions after a
Jail Oversight Board meeting

He Sent a statement indicating that “providing for the care of
[inmates] is important to the job We do.” That includes “an initial
medical screening When they come in the door, a fuller medical
evaluation,” a mental health review, and “observances gathered
and made by our employees.” All of that goes into decisions on
inmate placement and treatment, he Wrote.

The jail has a past history of higher-than-average suicide rates,
according to federal Bureau of Justice statistics, and saw two
such deaths last year.

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Attorney Michael O’Day, representing Ms. Gettings’ family,
called the corrections officer’S termination “eXtremely telling.”

“lt legitimizes the stories that we’ve heard that Ms. Gettings’
death Was preventable, and should not have occurred,” he said.
The termination “only bolsters the family’s belief and my belief
that this Was completely preventable.”

Ms. Brown, though, said that it’s “not neglect We can’t prevent”
Suicides.

“I’rn very, Very upset about What has happened With that inmate.
Never do lwant to see an inmate take their life,” Ms. Brown
added. “I can’t eat, and l can’t sleep.”

Rich Lord and She|ly Bradhury
a j A||egheny County Jai| inmate's death ruled a
`i suicide

 

Sources in the jail confirmed Ms. Brown’s termination, effective
April 28. She said that she has started the grievance process With
an aim of “getting my job back. I’m being made an example of.
That’s What this is.”

Ms. Gettings, a mother of two, pleaded guilty in 2013 and 2014
to drug possession, endangering the Welfare of children and
retail theft, drawing sentences of probation She was arrested in
Mount Oliver Jan. 21 after a traffic stop when, officers said, she

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had a crack pipe, empty stamp bags and syringes, and resisted
arrest.

She pleaded guilty to a summary charge of disorderly conduct,
but in February walked out of a residential facility to Which she
Was assigned She Was charged With escape. After an arrest and a
several-day hospital stay, MS. Gettings was jailed Some time on
or after April 13, Allegheny County Common Pleas Judge David
R. Cashman has said.

She was Sent to the jail’s medical housing pod on April 17.

That unit includes around 10 cells for men and around eight for
women, separated by a glass-encased room big enough for two
dozen officers and medical staff. Both groups of cells are
arranged in horseshoe shapes, arrayed around common areas
With televisions, tables and chairs. Each cell door has a large
window covering much of its top half.

Though Warden Harper declined to comment for this article, in
an interview last year he said that the risk of suicide rises When
inmates are facing withdrawal He said “any new inmate coming
into our facility [in a detox process], they will be double-celled”
with a cellmate.

In the iniirmary, Ms. Gettings Was not given a cellmate. Ms.
Brown said that when she arrived on the medical housing unit at
roughly 11 p.m. on April 17, MS. Gettings had already been “put
in isolation Why, l don’t know.”

After Ms. Brown went on break at around 2 a.m. on April 18, the
officer who relieved her discovered Ms. Gettings, dead by
hanging

“You can’t watch every inmate. You can’t!” said Ms. Brown.
Rounds are done “every half an hour or 40 minutes It takes five
minutes to hang yourself.”

In 2011, the Post-Gazette reported that the Allegheny County Jail
had the second highest suicide rate among the 50 largest jails in
the country, at 1.6 suicides per year. The late Bruce DiXon, Who

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was then director of the Allegheny County Health Department,
issued a plan to reduce suicide, including “intensive training” of
officers, close watch on at-risk inmates, and distribution of
clothing that can’t easily be used for hanging

While the jail reported one suicide in 2011 and three in 2012, it
told the state Department of Corrections that there were none in
2013, 2014 and 2015.

Last year, though, John Orlando, 40, of Millvale, hanged himself
in jail while awaiting his preliminary hearing on charges of
simple assault, harassment and public drunkenness.

In a lawsuit filed in February, Mr. Orlando’s family alleges that
he told police and corrections officers that he was coming down
from methamphetamines, would die in jail and had tried suicide
before - but was nonetheless assigned to a unit that “was not
equipped and/ or staffed to adequately monitor inmates with
particular vulnerabilities to suicide and/ or self-harm.” He
hanged himself with a sheet or clothing, the lawsuit said.

“When you’ve got somebody directly threatening to harm
themselves, coupled with the potential for withdrawal from
substances, that is the perfect combination for suicide,” said
attorney Massimo Terzigni, who represents Mr. Orlando’s
family. When there are such signs, he said, “these people need to
be closely monitored so they can get out of there.”

In July, Jeffrey Heil, 45, of Ross, committed suicide in the jail.

“It sounds like a pattern, right?” said Mr. O’Day. “You are
dealing with extremely vulnerable people, people who are
dealing with drug or alcohol issues. A lot of these people are
dealing with heroin detoxification issues. These people require a
higher level of care or attention.”

He said that if the county “continues to behave in a manner that
actually ignores a known danger, that could be a liability
nightmare.”

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Mr. Yanero wrote in an email that the family believes that even if
one officer has been fired “there are others responsible and
accountability needs to continue until justice for Jamie is
rendered as well as for any inmates that have faced such cruelty,
abuse, and lack of care.”

“Immediate and constructive changes should be implemented in
this jail to prevent further unnecessary deaths and suicides,” he
wrote. “Proper treatment to all inmates should be the norm, not
the eXception.”

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Giammarise contributed

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